           Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 1 of 30




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


S.P.S., ex rel. NATALIE SHORT; EDWIN
PRIOR; AILEEN NAKAMURA; ANGIE
JONES; DNC SERVICES CORP., d/b/a
DEMOCRATIC NATIONAL
COMMITTEE; DSCC; DCCC;
DEMOCRATIC PARTY OF GEORGIA,
INC.; and PRIORITIES USA,
                                               Civil Action No.
                    Plaintiffs,
      v.                                       1:19-cv-04960-AT

BRAD RAFFENSPERGER, in his official
capacity as the Georgia Secretary of State
and the Chair of the Georgia Board of
Elections; REBECCA SULLIVAN, in her
official capacity as the Vice Chair of the
Georgia Board of Elections; DAVID
WORLEY, in his official capacity as a
member of the Georgia Board of Elections;
SETH HARP, in his official capacity as a
member of the Georgia Board of Elections;
and ANH LE, in her official capacity as a
member of the Georgia Board of Elections,
                    Defendants.


      FIRST AMENDED COMPLAINT FOR DECLARATORY AND
                    INJUNCTIVE RELIEF
      Plaintiffs, S.P.S., ex rel. NATALIE SHORT, EDWIN PRIOR, AILEEN

NAKAMURA, and ANGIE JONES (the “Voter Plaintiffs”), and DNC SERVICES



                                         1
           Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 2 of 30




CORP., d/b/a DEMOCRATIC NATIONAL COMMITTEE (the “DNC”), DSCC,
DCCC, the DEMOCRATIC PARTY OF GEORGIA, INC. (“DPG”), and

PRIORITIES USA (“Priorities”) (together with the DNC, DSCC, DCCC, and the
DPG, the “Organizational Plaintiffs”), file this Complaint for Declaratory and
Injunctive Relief against Defendants BRAD RAFFENSPERGER, in his official

capacity as the Georgia Secretary of State and the Chair of the Georgia Board of
Elections (the “Secretary”); REBECCA SULLIVAN, in her official capacity as the
Vice Chair of the Georgia Board of Elections; and DAVID WORLEY, SETH

HARP, and ANH LE, each in their official capacity as a member of the Georgia
Board of Elections, and allege as follows:
                             NATURE OF THE CASE

      1.      This case concerns the constitutionality of a Georgia law that puts an
arbitrary thumb on the scale in all of the State’s partisan general elections in favor
of candidates of a single political party—that of the last-elected Governor. See Ga.
Code Ann. § 21-2-285(c) (the “Ballot Order Statute”) (mandating that candidates be
listed on the ballot in “descending order” of the number of votes cast for the
“candidates of the political parties for Governor at the last gubernatorial election”).

      2.      The Ballot Order Statute thus requires that, in every partisan contest for
political office in Georgia on its general election ballots through at least 2022, the
Republican candidate will be listed first for no other reason than the last-elected

Governor, Brian Kemp, is affiliated with the Republican Party. Democratic



                                           2
           Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 3 of 30




candidates will have no opportunity to be listed first—for no other reason than their
political party affiliation, and the fact that it is not shared by Governor Kemp.

      3.      This is no mere election administration detail. It is a fact almost
universally acknowledged that the candidates listed first in a race on the ballot
receive an electoral benefit solely due to their ballot position. Academics have come

to this conclusion again and again, as have federal and state courts. It is the inevitable
result of a phenomenon known as the “primacy effect.” And it gives first-listed
candidates a meaningful and arbitrary advantage over all of their opponents.1

      4.      Thus, the Ballot Order Statute gives Republican candidates a
meaningful electoral advantage over their similarly situated Democratic opponents.
That advantage all follows arbitrarily from the electoral success of a single candidate

in an earlier, unrelated election. And it persists on every ballot, in every partisan
race, in every general election thereafter, even if the last gubernatorial election was
incredibly close—such as in 2018, where Governor Kemp and his Democratic
opponent were separated by a mere 1.39 percentage points.2
      5.       This litigation is brought by a group of Plaintiffs, who have supported
and intend to continue to support Democratic candidates in Georgia, and all of whom


1
  Other terms for this phenomenon include “position bias,” and, in the context of
elections, the “ballot order effect” and “candidate name order effect.”
2
  Most election results discussed in this Complaint are available on the Secretary of
State’s website. See Ga. Dep’t of State, Current & Past Election Results,
http://sos.ga.gov/index.php/Elections/current_and_past_elections_results         (last
visited Nov. 1, 2019).

                                            3
           Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 4 of 30




have suffered and, absent an order from this Court, are guaranteed to continue to
suffer injury as a result of the Ballot Order Statute. They include the DNC, the

official national party committee for the Democratic Party, which supports the
election of Democrats up and down the ticket; the DSCC, a political committee the
central mission of which is to support Democratic candidates for U.S. Senate,

including for Georgia’s two U.S. Senate seats, both of which will be up for election
in 2020; the DCCC, a political committee the central mission of which is to support
Democratic candidates for the U.S. House of Representatives, including for

Georgia’s 14 congressional districts, all of which will also be on the ballot in 2020;
the DPG, a state political committee the central mission of which is to support
Democratic candidates in Georgia; Priorities, which works to elect progressive

candidates, including specifically in Georgia; and individual Georgia voters who
plan to support Democrats for public office in Georgia in 2020.
      6.      At its most basic, the Ballot Order Statute injures Plaintiffs, their
constituencies, and the candidates they support, by treating them differently from
the similarly-situated Republican Party and its candidates and voters, solely because
a Republican won the last gubernatorial election. The Statute also dilutes the vote of

Georgians, such as the Voter Plaintiffs, and the voting members and voting
constituents of the Organizational Plaintiffs, simply as a result of their support of
Democratic candidates in Georgia elections. The resulting disparate treatment and




                                          4
           Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 5 of 30




burden on Plaintiffs’ right to vote are not justified by any legitimate, much less
compelling, state interest.

      7.      In the only case in which the Supreme Court has considered a challenge
to a state practice that would have given certain types of candidates (there,
incumbents) the advantage of being placed first on the ballot, the Court summarily

affirmed the lower court’s preliminary injunction, which required that the State use
a ballot order system that gave candidates an equal opportunity to be listed first. See
Mann v. Powell, 333 F. Supp. 1261 (N.D. Ill. 1969), aff’d, 398 U.S. 955 (1970).

      8.      Multiple courts that have considered analogous challenges have
similarly found that they cannot survive constitutional scrutiny. See, e.g., McLain v.
Meier, 637 F.2d 1159, 1166 (8th Cir. 1980); Sangmeister v. Woodard, 565 F.2d 460,

468 (7th Cir. 1977); Graves v. McElderry, 946 F. Supp. 1569, 1580 (W.D. Okla.
1996); Netsch v. Lewis, 344 F. Supp. 1280, 1280 (N.D. Ill. 1972); Gould v. Grubb,
14 Cal. 3d 661, 664 (Cal. 1975); Holtzman v. Power, 62 Misc. 2d 1020, 1025 (N.Y.
Sup. Ct. 1970), aff’d, 311 N.Y.S.2d 824 (N.Y. 1970).
      9.      This Court should reach the same conclusion and hold Georgia’s Ballot
Order Statute unconstitutional.

                          JURISDICTION AND VENUE
      10.     Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988 to redress
the deprivation under color of state law of rights secured by the United States

Constitution.



                                          5
         Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 6 of 30




       11.    This Court has original jurisdiction over the subject matter of this action
pursuant to 28 U.S.C. §§ 1331 and 1343, because the matters in controversy arise

under the Constitution and laws of the United States.
       12.    This Court has personal jurisdiction over the Defendants, who are sued
in their official capacities only.

       13.    Venue is proper in the Atlanta Division of the U.S. District Court in the
Northern District of Georgia pursuant to 28 U.S.C. § 1391(b)(2) because, inter alia,
most of the Defendants reside in this judicial district, and a substantial part of the

events that gave rise to Plaintiffs’ claim occurred there.
       14.    This Court has the authority to enter a declaratory judgment pursuant
to 28 U.S.C. §§ 2201 and 2202.

                                      PARTIES
       15.    Plaintiff, S.P.S., ex rel. Natalie Short, is a resident of the State of
Georgia. He has been a resident of Dunwoody for the past 16 years. S.P.S. will turn
18 years old in 2020 and has filled out the required paperwork to register to vote.
S.P.S. considers himself to be a member of the Democratic Party. He regularly
supports Democratic candidates in Georgia elections and intends to vote for

Democratic Party candidates in the upcoming November 2020 general election. If
the Court does not enjoin the Ballot Order Statute prior to then, Republican Party
candidates will be listed in the first position on the ballot in all partisan races in

which he will be voting, and they will continue to receive an artificial and unfair



                                            6
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 7 of 30




advantage purely as a result of their ballot position. As a result, S.P.S. will suffer
serious, irreparable injury because of the Ballot Order Statute, both due to the

dilution of his vote and the burden on his efforts to help elect Democratic Party
candidates. His vote for Democratic Party candidates will be diluted relative to that
of voters who cast their ballots for Republican Party candidates, because its weight

and impact will be decreased—and the weight and impact of votes cast for
Republican candidates increased—by the votes accruing to Republican candidates
solely due to their first position on the ballot. S.P.S. has also been actively engaged

in efforts to help elect Democratic Party candidates in Georgia—efforts which the
Ballot Order Statute makes significantly more difficult. He plans to continue these
activities in regard to the upcoming 2020 election. The Ballot Order Statute, if it is

not enjoined, will burden S.P.S.’s ability to engage in effective efforts to elect
Democratic Party candidates by requiring substantially more time and resources to
achieve his mission.
      16.    Plaintiff Edwin Prior is a resident of and registered voter in the State of
Georgia. He has been a resident of Apalachee, Georgia, an unincorporated
community in Morgan County, for his entire life and has been a registered voter

there since he was 23 years old. He considers himself to be an independent voter
who leans Democratic. He regularly votes in Georgia elections and has voted for
both Democratic and Republican Party candidates. He intends to vote for the

Democratic Party candidate for president in the upcoming November 2020 general



                                           7
         Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 8 of 30




election, as well for a Democratic candidate for U.S. Senate. If the Court does not
enjoin the Ballot Order Statute prior to then, Republican Party candidates will be

listed in the first position on the ballot in all partisan races in which Prior will be
voting, and they will continue to receive an artificial and unfair advantage purely as
a result of their ballot position. As a result, Prior will suffer serious, irreparable injury

because of the Ballot Order Statute, due to the dilution of his vote for Democratic
candidates for president and U.S. Senate. His vote for Democratic Party candidates
will be diluted relative to that of voters who cast their ballots for Republican Party

candidates, because its weight and impact will be decreased—and the weight and
impact of votes cast for Republican candidates increased—by the votes accruing to
Republican candidates solely due to their first position on the ballot.

       17.    Plaintiff Aileen Nakamura is a resident of and registered voter in Sandy
Springs, Georgia. She has been a registered voter in Georgia since 2007. She
considers herself to be a Democrat. She regularly votes in Georgia elections and has
voted regularly for Democratic candidates. She intends to vote for the Democratic
Party candidates in the upcoming November 2020 general election. If the Court does
not enjoin the Ballot Order Statute prior to then, Republican Party candidates will

be listed in the first position on the ballot in all partisan races in which Nakamura
will be voting, and they will continue to receive an artificial and unfair advantage
purely as a result of their ballot position. As a result, Nakamura will suffer serious,

irreparable injury because of the Ballot Order Statute, due to the dilution of her vote



                                             8
         Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 9 of 30




for Democratic candidates. Her vote for Democratic Party candidates will be diluted
relative to that of voters who cast their ballots for Republican Party candidates,

because its weight and impact will be decreased—and the weight and impact of votes
cast for Republican candidates increased—by the votes accruing to Republican
candidates solely due to their first position on the ballot. Nakamura has also been

actively engaged in efforts to help elect Democratic Party candidates in Georgia—
efforts which the Ballot Order Statute makes significantly more difficult. She plans
to continue these activities in regard to the upcoming 2020 election. The Ballot Order

Statute, if it is not enjoined, will burden Nakamura’s ability to engage in effective
efforts to elect Democratic Party candidates by requiring substantially more time and
resources to achieve her mission.

      18.    Plaintiff Angie Jones is a resident of and registered voter in Johns
Creek, Georgia. She currently considers herself to be a Democratic voter. She
consistently votes in Georgia elections and has regularly voted for Democratic
candidates since 2011. She intends to vote for the Democratic Party candidates in
the upcoming November 2020 general election. If the Court does not enjoin the
Ballot Order Statute prior to then, Republican Party candidates will be listed in the

first position on the ballot in all partisan races in which Jones will be voting, and
they will continue to receive an artificial and unfair advantage purely as a result of
their ballot position. As a result, Jones will suffer serious, irreparable injury because

of the Ballot Order Statute, due to the dilution of her vote for Democratic candidates.



                                           9
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 10 of 30




Her vote for Democratic Party candidates will be diluted relative to that of voters
who cast their ballots for Republican Party candidates, because its weight and impact

will be decreased—and the weight and impact of votes cast for Republican
candidates increased—by the votes accruing to Republican candidates solely due to
their first position on the ballot. Jones has also been actively engaged in efforts to

help elect Democratic Party candidates in Georgia—efforts which the Ballot Order
Statute makes significantly more difficult. She plans to continue these activities in
regard to the upcoming 2020 election. The Ballot Order Statute, if it is not enjoined,

will burden Jones’ ability to engage in effective efforts to elect Democratic Party
candidates by requiring substantially more time and resources to achieve her
mission.

      19.    Plaintiff the DNC is the national committee of the Democratic Party as
defined by 52 U.S.C. § 30101(14). Its mission is to elect local, state, and national
candidates of the Democratic Party to public office throughout the United States,
including in Georgia. The DNC works to accomplish that mission by, among other
things, working closely with Democratic candidates and assisting state parties by
making expenditures on candidates’ behalves, providing Get Out the Vote

(“GOTV”) assistance, and actively supporting the development of programs
benefiting Democratic Party candidates. The DNC has previously engaged in, and
plans to continue to engage in, expenditures on behalf of Democratic Party

candidates, GOTV assistance, and the development of programs to elect Democratic



                                         10
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 11 of 30




Party candidates in Georgia. The DNC has members and constituents across the
United States, including in Georgia, where the DNC’s members and constituents

include Democratic Party candidates, elected officials, and voters. The Ballot Order
Statute directly harms the DNC by frustrating its mission and efforts to elect
Democratic Party candidates in Georgia by giving an unfair, arbitrary, and artificial

electoral advantage to Republican Party candidates. The DNC has had to and will
have to expend and divert funds that otherwise would have supported GOTV and
other mission-critical efforts in order to combat the effects of the Ballot Order Statute

to assist in getting Democratic candidates elected in Georgia, including specifically
in anticipation of the 2020 general election. The Ballot Order Statute further harms
the DNC because it treats the candidates the DNC supports in Georgia differently

than similarly situated Republican Party candidates in partisan elections by
mandating that all Republican candidates be listed first on the ballot for no other
reason than a Republican won the last gubernatorial election. The DNC’s voter
members and its constituency of Democratic voters also have suffered and will
continue to suffer serious, irreparable injury as a result of the Ballot Order Statute,
because it has been and will continue to dilute their votes for Democratic Party

candidates.
      20.     Plaintiff DSCC is the national senatorial committee of the Democratic
Party as defined by 52 U.S.C. § 30101(14). Its mission is to elect candidates of the

Democratic Party to the U.S. Senate, including in Georgia. The DSCC works to



                                           11
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 12 of 30




accomplish its mission by, among other things, making expenditures for and
contributions to Democratic candidates for U.S. Senate and assisting state parties

throughout the country, including in Georgia. In the past, the DSCC has made
contributions and expenditures in the tens of millions of dollars to persuade and
mobilize voters to support Democratic Senate candidates. In 2020, Georgia voters

will be electing two U.S. Senators, and the DSCC will work to support the
Democratic candidates in those races. As a result, the DSCC intends to make
substantial contributions and expenditures to support Democratic candidates for U.S.

Senate in Georgia in 2020. The Ballot Order Statute directly harms the DSCC by
frustrating its mission by giving an unfair, arbitrary, and artificial electoral
advantage to Republican Party candidates in Georgia, including in the upcoming

elections for U.S. Senate. Most immediately, the DSCC will have to expend and
divert additional funds and resources on GOTV, voter persuasion efforts, and other
activities in Georgia, at the expense of its efforts in other states, to combat the effects
of the Ballot Order Statute in the 2020 general election.
       21.    Plaintiff DCCC is the national congressional committee of the
Democratic Party as defined by 52 U.S.C. § 30101(14). The DCCC’s mission is

electing Democratic candidates to the U.S. House of Representatives from across
the United States, including from Georgia’s 14 congressional districts. The DCCC
works to accomplish its mission by, among other things, making expenditures for,

and contributions to, Democratic candidates for U.S. Congress and assisting state



                                            12
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 13 of 30




parties throughout the country, including in Georgia. For 2020, the DCCC has
identified a number of congressional districts in Georgia as targeted races, in which

it will expend significant resources to support Democratic candidates. Overall, in
2020, the DCCC expects to make contributions and expenditures in the millions of
dollars to persuade and mobilize voters to support Democratic candidates in

congressional elections around the country. The Ballot Order Statute directly harms
the DCCC by frustrating its mission and efforts to elect Democratic Party candidates
in Georgia by giving an unfair, arbitrary, and artificial electoral advantage to

Republican Party candidates. Most immediately, the DCCC will have to expend and
divert additional funds and resources on GOTV, voter persuasion efforts, and other
activities in Georgia, at the expense of its efforts in other states, in order to combat

the effects of the Ballot Order Statute in the 2020 general election.
      22.    Plaintiff DEMOCRATIC PARTY OF GEORGIA, INC. is a state
committee, as defined by 52 U.S.C. § 30101(15), and the official Democratic Party
in the State of Georgia. The DPG represents a diverse group of stakeholders,
including elected officials, candidates for elected office, state committee members,
advisory caucuses, affiliate groups, grassroots activities, and active voters. Its

mission is to elect Democratic candidates across Georgia. The DPG works to
accomplish its mission by, among other things, making expenditures and working to
increase turnout to elect Democratic candidates at both the State and federal level,

including through GOTV and voter persuasion efforts. It also works to accomplish



                                          13
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 14 of 30




its mission by assisting Georgians to ensure that all eligible voters have access to the
franchise. The DPG has previously engaged in, and plans to continue to engage in,

expenditures on behalf of Democratic Party candidates and GOTV assistance. The
Ballot Order Statute directly harms the DPG by frustrating its mission and efforts to
elect Democratic Party candidates in Georgia by giving an unfair, arbitrary, and

artificial electoral advantage to Republican Party candidates. The DPG has had to
and will have to expend and divert funds that otherwise would have supported
GOTV and other mission-critical efforts in order to combat the effects of the Ballot

Order Statute to assist in getting Democratic candidates elected in Georgia, including
specifically in anticipation of the 2020 general election. The Ballot Order Statute
further harms the DPG because it treats the candidates the DPG supports in Georgia

differently than similarly situated Republican Party candidates in partisan elections
by mandating that all Republican candidates be listed first on the ballot for no other
reason than a Republican won the last gubernatorial election. The DPG’s voter
members and its constituency of Democratic voters also have suffered and will
continue to suffer serious, irreparable injury as a result of the Ballot Order Statute,
because it has been and will continue to dilute their votes for Democratic Party

candidates.
      23.     Plaintiff PRIORITIES USA is a 501(c)(4) nonprofit, voter-centric
progressive advocacy and service organization. Priorities’ mission is to build a

permanent infrastructure to engage Americans in the progressive movement by



                                          14
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 15 of 30




running a permanent digital campaign to persuade and mobilize citizens around
issues and elections that affect their lives. To further this purpose, Priorities works

to help elect Democratic Party candidates across the country, including in Georgia.
In 2020, Priorities expects to make contributions and expenditures in the millions of
dollars to persuade and mobilize voters to support Democratic candidates in state

and federal elections around the country, including in Georgia elections. The Ballot
Order Statute directly harms Priorities by frustrating its mission of, and efforts in,
electing Democratic Party candidates in Georgia by giving an unfair and artificial

electoral advantage to Republican Party candidates. Priorities will have to expend
and divert additional funds and resources in GOTV, voter persuasion efforts, and
other activities in Georgia, at the expense of its efforts in other states, to combat the

effects of the Ballot Order Statute in getting Democratic candidates elected in
Georgia, including in connection with the 2020 general election.
       24.    Defendant BRAD RAFFENSPERGER is the Secretary of State of
Georgia, the State’s chief elections official, O.C.G.A. § 21-2-210, and the Chair of
the Georgia State Elections Board (the “SEB”), and is named as a Defendant in his
official capacity in each of those roles. In his official capacities, he is responsible for

the administration and implementation of election laws in Georgia, including the
Statute. See id.; see also Ga. Op. Att’y Gen. No. 2005-3 (Apr. 15, 2005) (“[I]it is
clear that under both the Constitution and the laws of the State the Secretary is the

state official with the power, duty, and authority to manage the state’s electoral



                                            15
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 16 of 30




system. . . .”). As it specifically relates to the Ballot Order Statute, the Secretary is
responsible for prescribing “[t]he form and arrangement of ballots in Georgia,”

§O.C.G.A. § 21-2-369(c), including “develop[ing], program[ing], build[ing], and
review[ing] ballots for use by counties and municipalities on voting systems in use
in” the State. §O.C.G.A. § 21-2-50(a)(15). The Secretary, personally and through

the conduct of his employees, officers, agents, and servants, acted under color of
state law at all times relevant to this action. As SEB Chair, Secretary
RAFFENSPERGER is responsible for “promulgat[ing] rules and regulations so as

to obtain uniformity in the practices and proceedings of superintendents, registrars,
deputy registrars, poll officers, and other officials, as well as the legality and purity
in all primaries and elections.” O.C.G.A. § 21-2-31(1). The SEB is responsible for

“formulat[ing], adopt[ing], and promulgat[ing] such rules and regulations, consistent
with law, as will be conducive to the fair, legal, and orderly conduct of primaries
and elections; and, upon the adoption of each rule and regulation, the board shall
promptly file certified copies thereof with the Secretary of State and each
superintendent.” §O.C.G.A. § 21-2-31(2).
      25.    Defendant REBECCA SULLIVAN is the Vice Chair of the SEB and is

named as a Defendant in her official capacity. As a member of the SEB, she is
responsible for “promulgat[ing] rules and regulations so as to obtain uniformity in
the practices and proceedings of superintendents, registrars, deputy registrars, poll

officers, and other officials, as well as the legality and purity in all primaries and



                                           16
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 17 of 30




elections.” O.C.G.A. § 21-2-31(1). The SEB is specifically responsible for
“formulat[ing], adopt[ing], and promulgat[ing] such rules and regulations, consistent

with law, as will be conducive to the fair, legal, and orderly conduct of primaries
and elections; and, upon the adoption of each rule and regulation, the board shall
promptly file certified copies thereof with the Secretary of State and each

superintendent.” Id. at (2). The Vice Chair, personally and through the conduct of
her employees, officers, agents, and servants, acted under color of state law at all
times relevant to this action.

      26.    Defendants DAVID WORLEY, SETH HARP, and ANH LE are each
members of the SEB and are named as Defendants in their official capacities (“SEB
Member Defendants”). As SEB members, they are responsible for “promulgat[ing]

rules and regulations so as to obtain uniformity in the practices and proceedings of
superintendents, registrars, deputy registrars, poll officers, and other officials, as
well as the legality and purity in all primaries and elections.” O.C.G.A. § 21-2-31(1).
The SEB is responsible for “formulat[ing], adopt[ing], and promulgat[ing] such rules
and regulations, consistent with law, as will be conducive to the fair, legal, and
orderly conduct of primaries and elections; and, upon the adoption of each rule and

regulation, the board shall promptly file certified copies thereof with the Secretary
of State and each superintendent.” Id. at (2). The SEB Member Defendants,
personally and through the conduct of their employees, officers, agents, and

servants, acted under color of state law at all times relevant to this action.



                                           17
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 18 of 30




                      STATEMENT OF FACTS AND LAW
      27.    It is well-established that the candidate whose name is listed first on the

ballot receives the advantage of additional votes solely due to her ballot position.
See, e.g., Holtzman, 62 Misc. 2d at 1023 (recognizing “there is a distinct advantage
to the candidate whose name appears first on a ballot” and this phenomenon is “so

widespread and so universally accepted as to make it almost a matter of public
knowledge”); McLain, 637 F.2d at 1166 (affirming “finding of ballot advantage in
the first position”); Sangmeister, 565 F.2d at 465 (“[T]he trial court’s conclusion

that ‘top placement on the ballot would be an advantage to the plaintiff’ is supported
by substantial evidence[.]”); Graves, 946 F. Supp. at 1576 (finding “some measure
of position bias exists in Oklahoma’s” elections); Akins v. Sec’y of State, 154 N.H.

67, 71 (N.H. 2006) (affirming finding that “the primacy effect confers an advantage
in elections”); Gould, 14 Cal. 3d at 664 (describing finding of position bias as
“consistent with parallel findings rendered in similar litigation throughout the
country”); State ex rel. Roof v. Bd. of Comm’rs, 39 Ohio St. 2d 130, 136 (Ohio 1974)
(recognizing “it is generally agreed” that “candidates whose names appear at the
beginning of the list receive some votes attributable solely to the positioning of their

names”); Kautenburger v. Jackson, 85 Ariz. 128, 130-131 (Ariz. 1958) (“[I]t is a
commonly known and accepted fact that where there are a number of candidates for




                                          18
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 19 of 30




the same office, the names appearing at the head of the list have a distinct
advantage.”).

      28.    Georgia’s Ballot Order Statute mandates that, for every single partisan
election listed on a general election ballot in the State, the candidates who share their
political party with the last-elected Governor must be listed first on the ballot.

O.C.G.A. § 21-2-285(c).
      29.    The Ballot Order Statute provides in relevant part that candidates must
be listed on the ballot “in the descending order of the totals of votes cast for

candidates of the political parties for Governor at the last gubernatorial election.” Id.
      30.    Thus, the Ballot Order Statute, on its face, treats similarly situated
political parties differently, to the consistent detriment of the party and candidates

who do not share a political party affiliation with the last-elected Governor, as well
as the voters who support those disfavored candidates.
      31.    Candidates who share their political party affiliation with the last-
elected Governor enjoy a systemic, arbitrary, and artificial advantage over their
otherwise similarly situated rivals, directly and solely as a result of the Ballot Order
Statute, which boosts their electoral prospects for no other reason than a single

member of their party out-performed other candidates in a different election, which,
in many cases, occurred years before the elections in which they continue to enjoy
this state-mandated advantage.




                                           19
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 20 of 30




      32.       Even if the advantage conferred by the Ballot Order Statute in the
average race was not ordinarily more than a point or two, in electoral politics, the

resources needed to overcome such a difference are often substantial.
      33.       In the most recent mid-term election cycle in 2018, many races were
decided by slim margins—including the gubernatorial election, in which Georgia’s

current Republican Governor defeated Democratic candidate Stacey Abrams by a
mere 1.39 percentage points.
      34.       The gubernatorial election was not the only election in 2018 in which

the winner was decided by only a few points—or even a fraction of a point. The
Republican candidate for U.S. House of Representatives in Georgia’s 7th
Congressional District (“CD-7”) defeated his Democratic opponent by only 0.14

percentage points. The Republican candidate for Attorney General won over his
Democratic rival with only 2.6 percentage points. And the Republican candidates
for State Representative in House Districts 43 (“HD-43”), 109, and 138 defeated
their Democratic opponents by a mere 3.12, 3.08, and 3.58 percentage points,
respectively.
      35.       The fact that there were so many elections, up and down the ballot, in

which Republican and Democratic candidates were separated by small, and in some
cases, barely indistinguishable, vote shares was no historical aberration. Georgia has
experienced exceedingly close elections in every recent major election cycle.




                                           20
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 21 of 30




      36.      For example, in the 2016 general election, Republican candidates in
races for HD-105 and HD-111 defeated their Democratic counterparts by only 0.9

and 3.38 percentage points, respectively. That same year, the Republican candidate
running to represent Senate District 6 (“SD-6”) defeated the Democratic candidate
by a mere 3.84 percentage points.

      37.      There are likely to be even more highly competitive races in Georgia in
2020. As of the date of this filing, the Cook Political Report rated Georgia’s CD-6
and CD-7 as political “toss ups,” and both of Georgia’s Senate seats, one of which

is an open seat, as “likely” Republican but still competitive. It also rated Georgia as
“lean[ing],” but not solidly, Republican in projections for the 2020 presidential
election.

      38.      At the more local level, Democrats picked up 11 seats in the Georgia
State House and two in the State Senate in the 2018 election and are expected to gain
more in the State House in 2020. See Doug Richards, Could the GOP Lose its
Georgia       House    Majority   in    2020?,    11    ALIVE     (Aug.    12,    2019),
https://www.11alive.com/article/news/could-the-gop-lose-its-georgia-house-
majority-in-2020/85-d58aff3b-f4de-464c-886a-4428f09a3725.

      39.      The Ballot Order Statute undermines the integrity of the State’s
elections, particularly in races that are decided within a matter of points, or fractions
of a point.




                                           21
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 22 of 30




      40.    Unless the Ballot Order Statute is enjoined, in every single one of the
partisan races on the ballot in Georgia in 2020, including those that are projected to

be competitive, the Republican candidate will enter the election with a state-
mandated thumb on the scale in favor of his or her election, for no other reason than
a different Republican candidate won the Governor’s race by 1.39 percentage points

in an unrelated election two years earlier.
      41.    The result will be severe and irreparable harm to the Plaintiffs, as well
as the candidates they support and, in the case of the Organizational Plaintiffs, their

memberships and voting constituencies.
      42.    Neither political favoritism of one political party (here, the political
party of the last-elected Governor) and its voters, nor purported election

administration concerns, can sustain the Ballot Order Statute against legal challenge.
See Obama for Am. v. Husted, 697 F.3d 423, 434 (6th Cir. 2012) (finding state
interest in “smooth election administration” insufficient to justify disparate burden
on voters); see also Graves, 946 F. Supp. at 1569 (finding no legitimate state interest
in always placing one major political party first on the ballot).
      43.    Even if adopting a rotational ballot order system to ensure fairness in

elections would impose some administrative burden, Georgia cannot justify the
disparate treatment that the current Ballot Order Statute mandates nor does the
administrative burden outweigh the burden that it imposes on the rights of political

parties, candidates, and the voters who support them. See, e.g., Democratic Exec.



                                          22
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 23 of 30




Comm. v. Lee, 915 F.3d 1312, 1322 (11th Cir. 2019); Obama for Am., 697 F.3d at
434; Martin v. Kemp, 341 F. Supp. 3d 1326, 1341 (N.D. Ga. 2018); see also Mann,

333 F. Supp. at 1261; Meier, 637 F.2d at 1166; Sangmeister, 565 F.2d at 468;
Graves, 946 F. Supp. at 1580; Netsch, 344 F. Supp. at 1280; Gould, 14 Cal. 3d at
664; Holtzman, 62 Misc. 2d at 1025.

                                 CLAIMS FOR RELIEF

                                      COUNT I

                    First and Fourteenth Amendments
   U.S. Const. Amend. I and XIV, 42 U.S.C. § 1983, 28 U.S.C. §§ 2201, 2202
                    Undue Burden on the Right to Vote
      44.    Plaintiffs reallege and incorporate by reference all prior paragraphs, as
though fully set forth herein.

      45.    A court considering a challenge to a state election law must carefully
balance the character and magnitude of injury to the First and Fourteenth
Amendment rights that the plaintiff seeks to vindicate against the justifications put
forward by the state for the burdens imposed by the rule. See Burdick v. Takushi,
504 U.S. 428, 434 (1992); Anderson v. Celebrezze, 460 U.S. 780, 789 (1983).
      46.    “However slight th[e] burden may appear, . . . it must be justified by

relevant and legitimate state interests sufficiently weighty to justify the limitation.”
Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 191 (2008) (Stevens, J.,
controlling op.) (quotation marks omitted); see also Gould, 14 Cal. 3d at 670
(applying “close scrutiny” standard of review, because ballot order system


                                          23
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 24 of 30




“impose[d] a very ‘real and appreciable impact’ on the equality, fairness and
integrity of the electoral system”); Akins, 154 N.H. at 67 (applying strict scrutiny to

determining state constitutionality of ballot order system that prioritized candidate
names alphabetically).
       47.    Georgia’s Ballot Order Statute, which provides an unfair, arbitrary, and

artificial advantage to all candidates whose political party won the last gubernatorial
election, burdens the right to vote of those voters—including the Voter Plaintiffs and
the members and constituents of the Organizational Plaintiffs—who support

candidates of the major political party whose candidates are not listed first on the
ballot, because it dilutes their vote relative to the votes for the favored political party
candidate that the Statute requires be listed first on the ballot. See McLain, 637 F.2d

at 1163 (describing system of listing first candidates of party that received the most
votes in last North Dakota congressional election as “burden[ing] the fundamental
right to vote possessed by supporters of the last-listed candidates, in violation of the
fourteenth amendment”); see also Gould, 14 Cal. 3d at 670 (describing statute that
prioritized ballot order by incumbency as “inevitably dilut[ing] the weight of the
vote of all those electors who cast their ballots for a candidate who is not included

within the favored class”).
       48.    The weight and impact of Plaintiffs’ votes (as well as the votes of the
Organizational Plaintiffs’ membership and constituencies) is consistently and

arbitrarily decreased—and the weight and impact of the votes for the statutorily



                                            24
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 25 of 30




favored party’s candidates, increased—by the votes accruing to the first-listed
candidates solely due to their first position on the ballot as mandated by the Ballot

Order Statute.
      49.    The Ballot Order Statute is not justified by any legitimate state interest,
let alone a compelling state interest, that is sufficiently weighty to justify the burden

on the right to vote. See McLain, 637 F.2d at 1167 (holding state’s asserted interest
in “making the ballot as convenient and intelligible as possible for the great majority
of voters” was not a legitimate state interest to justify listing first on the ballot

candidates of the political party that received the most votes in the last congressional
election and constituted “favoritism”); Gould, 14 Cal. 3d at 675 (rejecting argument
that asserted state interests in promoting “efficient, unconfused voting” justified an

incumbent-first ballot order system and holding that interest “in promoting speed in
the voting booth” was not a “compelling” state interest); Holtzman, 62 Misc. 2d at
1024 (holding no rational basis for “such favoritism to a candidate merely on the
basis of his having been successful at a prior election” in terms of ballot order).
      50.    Thus, the burdens imposed by the Ballot Order Statute on the
fundamental right to vote outweigh any alleged benefits of the law.

      51.    Injunctive and declaratory relief are needed to resolve this existing
dispute, which presents an actual controversy between Defendants and Plaintiffs,
who have adverse legal interests, because the Ballot Order Statute subjects Plaintiffs




                                           25
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 26 of 30




to serious, concrete, and irreparable injuries to their fundamental right to vote,
including, most immediately, in the upcoming 2020 general election.

                                     COUNT II

                          Fourteenth Amendment
      U.S. Const. Amend. XIV, 42 U.S.C. § 1983, 28 U.S.C. §§ 2201, 2202
      Disparate Treatment in Violation of the Right to Equal Protection
      52.    Plaintiffs reallege and incorporate by reference all prior paragraphs, as
though fully set forth herein.
      53.    The Equal Protection Clause of the Fourteenth Amendment to the U.S.
Constitution prohibits states from “deny[ing] to any person within its jurisdiction the
equal protection of the laws.” U.S. Const. amend. XIV, § 1.
      54.    This constitutional provision requires “that all persons similarly
situated should be treated alike.” City of Cleburne v. Cleburn Living Ctr., 473 U.S.

432, 439 (1985); see also Bush v. Gore, 531 U.S. 98, 104-05 (2000) (holding Equal
Protection Clause applies to “the manner of [the] exercise [of voting]” and “once
granted the right to vote on equal terms, the State may not, by later arbitrary and

disparate treatment, value one person’s vote over that of another”).
      55.    Georgia’s Ballot Order Statute treats one recognized political party—
and its candidates, members, constituencies, and the voters and organizations who

support it—differently from the other similarly situated party, giving one an unfair
and arbitrary electoral advantage based solely on the performance of that party’s
candidate in the last gubernatorial election, in violation of the Equal Protection


                                          26
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 27 of 30




Clause. See McLain, 637 F.2d at 1166 (holding statute requiring political party of
candidate who received most votes in prior North Dakota congressional election to

be listed first on ballots unconstitutional, in violation of Equal Protection Clause);
see also Mann, 333 F. Supp. at 1267 (enjoining ballot order system of placing
candidates at top of ballot based on prior electoral success—due to “seniority” or

“incumbency”—and stating “[t]he Fourteenth Amendment requires all candidates,
newcomers and incumbents alike, to be treated equally”), aff’d, 398 U.S. 955 (1970);
Netsch, 344 F. Supp. at 1281 (holding statute prescribing ballot order by past

electoral success violated Fourteenth Amendment because it denied “the right to
equal protection”); Holtzman, 62 Misc. 2d at 1024 (holding system requiring
placement of incumbent at top of ballot unconstitutional because it violated the

Equal Protection Clause); Sangmeister, 565 F.2d at 468 (“This court will not accept
a procedure that invariably awards the first position on the ballot to . . . the
incumbent’s party.”) (citation omitted).
      56.    Georgia’s Ballot Order Statute is not even rationally related to a
legitimate state interest—much less narrowly tailored to advance a compelling state
interest—to justify favoring the political party of the current Governor (and the

serious and irreparable injury that results to Plaintiffs because of that favoritism), by
ensuring that all candidates running in future elections under the auspices of the
same party are listed first on the ballot and thus receive an unfair electoral advantage




                                           27
        Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 28 of 30




solely resulting from their position of primacy. See, e.g., McLain, 637 F.2d at 1167;
Holtzman, 62 Misc. 2d at 1024.

      57.    Injunctive and declaratory relief are needed to resolve this existing
dispute, which presents an actual controversy between Defendants and Plaintiffs,
who have adverse legal interests, because the Ballot Order Statute subjects Plaintiffs

to serious, concrete, and irreparable injuries due to disparate treatment in violation
of the Equal Protection Clause, including, most immediately, in the upcoming 2020
general election.

      WHEREFORE, Plaintiffs respectfully request that this Court enter
judgment:
             (a)    declaring, under the authority granted to this Court by 28
                    U.S.C. § 2201, that the Ballot Order Statute violates the First and
                    Fourteenth Amendment to the United States Constitution;

             (b)    preliminarily and permanently enjoining the Defendants, their
                    respective agents, officers, employees, and successors, and
                    all persons acting in concert with each or any of them, from
                    implementing, enforcing, or giving any effect to the Ballot Order
                    Statute under the authority granted to this Court by Federal Rule
                    of Civil Procedure 65(a) and 28 U.S.C. § 2202;

             (c)    awarding Plaintiffs their costs, disbursements, and reasonable
                    attorneys’ fees incurred in bringing this action pursuant to 42
                    U.S.C. § 1988 and other applicable laws; and

             (d)    granting such other and further relief as the Court deems just
                    and proper, including requiring Defendants to use a ballot order
                    system that gives similarly-situated major-party candidates an
                    equal opportunity to be listed first on the ballot.



                                          28
 Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 29 of 30




Respectfully submitted, this 15th day of November, 2019.

                                 Adam M. Sparks
                                 Halsey G. Knapp, Jr.
                                 Georgia Bar No. 425320
                                 Adam M. Sparks
                                 Georgia Bar No. 341578
                                 KREVOLIN & HORST, LLC
                                 One Atlantic Center
                                 1201 W. Peachtree St., NW, Suite 3250
                                 Atlanta, GA 30309
                                 Telephone: (404) 888-9700
                                 Facsimile: (404) 888-9577
                                 hknapp@khlawfirm.com
                                 sparks@khlawfirm.com

                                 Marc E. Elias*
                                 Elisabeth C. Frost*
                                 Jacki L. Anderson*
                                 Zachary J. Newkirk**
                                 PERKINS COIE LLP
                                 700 Thirteenth St., N.W., Suite 600
                                 Washington, D.C. 20005-3960
                                 Telephone: (202) 654-6200
                                 Facsimile: (202) 654-9959
                                 melias@perkinscoie.com
                                 efrost@perkinscoie.com
                                 jackianderson@perkinscoie.com
                                 znewkirk@perkinscoie.com

                                 Abha Khanna*
                                 PERKINS COIE LLP
                                 1201 Third Avenue, Suite 4900
                                 Seattle, WA 98101-3099
                                 Telephone: (206) 359-8000
                                 Facsimile: (206) 359-9000
                                 akhanna@perkinscoie.com


                                 29
Case 1:19-cv-04960-AT Document 17 Filed 11/15/19 Page 30 of 30




                              Counsel for the Plaintiffs
                             *Admitted Pro Hac Vice
                             **Pro Hac Vice Motion Pending




                              30
